       Case 1:21-cr-00570-APM Document 46 Filed 04/03/23 Page 1 of 1




                   UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF COLUMBIA



UNTED STATES OF AMERICA

           v.                                 21 Cr 570. Judge Mehta

LANDON COPELAND

                        NOTICE TO THE COURT

     Counsel for Mr. Copeland, in conjunction with the Office of the United
States Attorney, now notifies the Court, the U.S. Marshal has not released
any information as to the whereabouts of Landon Copeland. We have no
information whether he is in the D.C. Metropolitan area.


     It is our belief Mr. Copeland has not yet been brought to the District
of Columbia by the United States Marshal.



                                        Respectfully submitted,


                                        ___________/s/_________________
                                        H. Heather Shaner, Esq. # 273276
                                        Appointed by the Court for
                                        Landon Copeland
                                        1702 S Street N.W.
                                        Washington, D.C. 20009
                                        Tel. 202 265 8210
                                        hhsesq@aol.com
